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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                    Case No. 1:11-cr-133

v.                                                           HON. JANET T. NEFF

JOSE DE-JESUS-JJ REYES,

            Defendant.
____________________________________/


                            MEMORANDUM OPINION AND ORDER

       Defendant Jose De-Jesus-JJ Reyes has filed a motion for modification or reduction of

sentence (Dkt 782) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United

States Sentencing Guidelines, made retroactive by the Sentencing Commission. Probation has filed

a Sentence Modification Report (Dkt 74) finding the defendant eligible for the reduction. The

parties stipulated (Dkt 76) to the retroactive application of the sentencing amendment and requests

the Court to amend the sentence to a term of custody of “time served as of November 1, 2015.” All

other aspects of the original judgment order including the length of term of supervised release, all

conditions of supervision, fines, restitution, and special assessment remain as previously imposed.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.
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       Having fully considered the Sentence Modification Report (Dkt 74) and the Stipulation on

Reduction of Sentence (Dkt 76), the Court has determined that the defendant is entitled to a

reduction of sentence pursuant to the policy statements of the U.S. Sentencing Commission.

       Therefore, IT IS HEREBY ORDERED that Defendant's motion for modification of sentence

(Dkt 782) pursuant to 18 U.S.C. § 3582(c)(2) is GRANTED. Defendant’s sentence is reduced to

a term of custody of time served with an effective date of November 1, 2015.

       IT IS FURTHER ORDERED that all other aspects of the original judgment order including

the length of term of supervised release, all conditions of supervision, fines, restitution, and special

assessment remain as previously imposed.


DATED: May 14, 2015                                      /s/ Janet T. Neff
                                                        JANET T. NEFF
                                                        United States District Judge




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